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                            IN UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

Civil Action No.: 1:16-cv-2792- KMT

Paul Montgrain,

        Plaintiff/Movant,

Medicredit, Inc.,

        Defendant.


                                 NOTICE OF SETTLEMENT


       NOTICE IS HEREBY GIVEN that the parties in the above-captioned case have reached

a settlement. The Plaintiff anticipates filing a notice of withdrawal of Complaint and voluntary

dismissal of this action with prejudice pursuant to FED. R. CIV. P. 41(a) within 60 days.


Dated: January 9, 2017

                                             Respectfully submitted,

                                              By: __/s/ Jenny DeFrancisco_________

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                                  CERTIFICATE OF SERVICE

        I hereby certify that on January 9, 2017, a true and correct copy of the foregoing Notice
of Settlement was served electronically by the U.S. District Court for the District of Colorado
Electronic Document Filing System (ECF) and that the document is available on the ECF
system.

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Denver, CO 80203
Attorney for Defendant

                                             By /s/ Jenny DeFrancisco
                                                    Jenny DeFrancisco, Esq.
